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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


   DUKE BRADFORD, et al.,                               CIVIL ACTION NO.: 1:21-cv-03283
        Plaintiffs,

   v.

   U.S. DEPARTMENT OF LABOR, et al.,
         Defendants.


                           MOTION FOR SUMMARY JUDGMENT

         Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Plaintiffs Duke Bradford,

  Arkansas Valley Adventure, LLC d/b/a AVA Rafting and Zipline (AVA), and the Colorado River

  Outfitters Association (CROA), move for summary judgment against Defendants, Pres. Joseph R.

  Biden, Sec. Martin J. Walsh, Acting Admin. Jessica Looman, the U.S. Dept. of Labor, and the

  Wage & Hour Division (collectively DOL or the Department), and an order setting aside the rule,

  Increasing the Minimum Wage for Federal Contractors, 86 Fed. Reg. 67,126 (Nov. 23, 2021).

         Defendants’ rule is unlawful because it exceeds the President’s authority to regulate a

  system of procurement. As a panel of the Tenth Circuit already concluded, Plaintiffs have

  demonstrated that the rule is likely unlawful. That was because DOL has distorted the putative

  statutory authority for the rule—the Procurement Act—beyond any rational limits and tried to

  regulate businesses that neither procure nor supply anything to or from the government. Rather

  than meaningfully defending its rule, DOL deflects—claiming it had no choice but to follow the

  President’s orders, and that this Court may not second-guess the President’s judgment. The Tenth

  Circuit has already refused DOL’s invitation to be a passive bystander to the agency’s conduct.

  This Court should reach the same conclusion as the motions panel and set the rule aside.

                    STATEMENT OF UNDISPUTED MATERIAL FACTS

  I. Prior Agency Action

  1.     On February 12, 2014, President Obama issued EO 13658, Establishing a Minimum Wage

  for Contractors, putatively under the Federal Property and Administrative Services Act (The

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  Procurement Act), 40 U.S.C. § 101, directing DOL to establish a minimum wage for “federal

  contractors and subcontractors.” 79 Fed. Reg. 9851, 9852-53. 1

  2.      DOL then mandated a $10.10/hr minimum wage plus overtime. Establishing a Minimum

  Wage for Contractors, 79 Fed. Reg. 60,634 (Oct. 7, 2014); 29 C.F.R. §§ 10.5(a), 10.24(a). It

  applied to “contracts or contract-like instruments,” an “intentionally all-encompassing” definition

  that included employers with “special use permits.” Id. at 60,652; 29 C.F.R. § 10.2.

  3.      In 2018, President Trump issued EO 13838, exempting outfitters and guides from the

  minimum wage rule. Exemption from Executive Order 13658 for Recreational Services on Federal

  Lands, 83 Fed. Reg. 25,341 (May 24, 2018). The President explained that the rule’s application

  “to outfitters and guides operating on Federal lands” would “not promote economy and efficiency”

  because of that sector’s unusual work structures. Id.

  4.      DOL issued a rule implementing the order and included an analysis that agreed with the

  President. 83 Fed. Reg. 48,537, 48,540 (Sept. 26, 2018).

  II. The New Rule

  5.      On April 27, 2021, President Biden reversed course, issuing EO 14026, Increasing the

  Minimum Wage for Federal Contractors, raising the previous threshold to $15/hr and revoking the

  exemption for recreational services on federal lands. 86 Fed. Reg. 22,835–37.

  6.      On November 23, 2021, DOL issued its final rule implementing the order, effective

  January 30, 2022. Increasing the Minimum Wage for Federal Contractors, 86 Fed. Reg. 67,126.

  The rule confirmed that its $15/hr minimum wage applied to recipients of special use permits like

  those held by Plaintiffs. Id. at 67,147.

  7.      DOL estimated the rule would affect more than 500,000 private firms, including 40,000

  firms that provide concessions or recreational services pursuant to special use permits on federal

  lands, id. at 67,194–96, and result in “transfers of income from employers to employees in the form



  1
    By agreement of the parties, regulatory actions published in the Federal Register were not
  reproduced with the Administrative Record (AR) but is nonetheless part of the official record.
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  of higher wage rates” of “$1.7 billion per year over 10 years,” with “average annualized direct

  employer costs” of “$2.4 million” for each firm, id. at 67,194. The rule is economically significant. Id.

  8.      The rule recognized that these cost increases, as well “regulatory familiarization costs and

  [] implementation costs” would likely be passed on to the government itself—at least as to

  procurement contracts—and thus “Government expenditures may rise.” Id. at 67,204, 67,206. But

  recreational firms holding permits to use federal lands are “[n]on-procurement” as they do not sell

  goods or services to the government, and thus “cannot as directly pass costs along to the Federal

  Government.” Id. As a result, the rule “may result in reduced profits” for such firms, or outright

  losses, ameliorated only to the extent consumers are willing to pay “higher prices.” Id.

  9.      Despite DOL’s suggestion that there was no “data or substantive information” proving that
  the minimum wage rule would result in price increases and damage profitability, id. at 67,207, the one

  study cited by DOL concluded that there is “a significant negative association between the [minimum

  wage] introduction and firm profitability” and “report[ed] evidence showing wages were significantly

  raised, and firm profitability was significantly reduced by the minimum wage.” Id.; AR Vol. II at 130.

  10.     Other research relied on by DOL suggests that firms will face reduced profits and will be forced

  to raise prices and reduce benefits and overtime for workers. See AR Vol. II, 4 (minimum wage resulted

  in “full or near-full price pass-through of minimum-wage-induced higher costs of labor”); AR Vol. II,

  362 (“Firms have adapted to the remaining costs in a variety of ways, including cutting fringe benefits

  and overtime, hiring more highly trained workers, cutting profits and passing on costs to the city or to

  the public.”); AR Vol. III, 61 (“Cost increases were instead absorbed through other channels of

  adjustment, including higher prices, lower profit margins, wage compression, reduced turnover, and

  higher performance standards.”); AR Vol. III, 192 (“It is well established in the literature that minimum

  wage increases compress the wage distribution. Firms respond to these higher labour costs by reducing

  employment, reducing profits, or raising prices.”); AR Vol. III, 213 (“firms respond to minimum wage

  increases not by reducing production and employment, but by raising prices”).

  11.     DOL claimed “this final rule would result in negligible or no disemployment effects,” but

  relied on research that conflicted with that conclusion. See id. at 67,211; see, e.g., AR Vol. V, 221

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  (meta-analysis of 15 years of research concluded that “the minimum wage [] has negative

  employment effects,” which are “statistically significant”).

  12.    DOL’s research suggested that minimum wage rules shift wage increases to more

  advantaged workers and away from less-advantaged workers. See AR Vol. I, 127 (“Our results

  show that a minimum wage hike is then not a transfer from rich firms to poor workers, but from

  poor workers to rich workers.”); AR Vol. II, 172 (“There is a clear drop in employment at the

  bottom of the wage distribution . . . in cities with minimum wage[.]”); AR Vol. III, 134 (“The

  entirety of these [wage] gains accrued to workers with above-median experience at baseline; less-
  experienced workers saw no significant change to weekly pay,” and minimum wage rules resulted

  in “a significant reduction in the rate of new entries into the workforce.”).

  13.    DOL also acknowledged that the rule might place permittees at a competitive disadvantage

  with competitors not operating on federal lands. Id. at 67,208.

  14.    DOL declined to address its former rationale for exempting permittees, nor did it consider

  alternatives for permittees, saying instead that because the “purpose of this rulemaking is to

  implement Executive Order 14026,” DOL viewed itself as having no discretion to consider these

  issues. Id. at 67,129, 67,216. Furthermore, whether statutory authority existed for the executive

  order and rule was, purportedly, “not within the scope of this rulemaking action.” Id. at 67,131.

  15.    DOL also attempted to justify the rule by pointing to economic research that it claimed

  proved that losses for special use permit holders would be “substantially offset” due to increased

  productivity and morale, which would improve services for the government and public. Id. at

  67,153. DOL acknowledged, however, that the rule’s impact on the outfitters and guides industry

  would not improve government services. Id. at 67,212.

  III. The Plaintiffs

  16.    AVA is a licensed river outfitter headquartered in Buena Vista, CO, which relies on special

  use permits to operate. Ex. A, Bradford Decl. ¶¶ 2-3. It recruits experienced guides who typically

  negotiate fixed rates based on the number of days a trip is expected to take. Id. If paid hourly, these



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  rates would typically exceed $15/hr, but because the trips last for multiple days, the guides work

  far more than 40 hours in a typical week. Id.

  17.     Should the rule go into effect, AVA would need to expend resources immediately to ensure

  compliance with the rule, for instance, as Mr. Bradford testified, he expects to expend “between

  five and $10,000” just on attorney costs prior to the effective date. Ex. B; PI Hearing Tr., Bradford

  Testimony at 20:1–11 (Jan. 6, 2022). Mr. Bradford also explained that AVA would need to spend

  more on wage costs, hire more staff, limit hours for existing staff, and provide more housing for

  employees, all of which “will drive expenses up.” Id. at 20:18–21:21. AVA would also need to
  eliminate overnight rafting trips entirely or else the “price would go beyond what our public could

  afford.” Id. at 21:22–22:2. The rule would further make AVA less competitive with other outfitters

  not subject to the rule by increasing costs and decreasing revenue. Id. at 21:12–23:21.

  18.     CROA is a trade association representing as many as 50 independently operating river

  outfitters, including AVA. Ex. C, Costlow Decl. ¶¶ 3, 6. Most CROA members operate on federal

  lands under special use permits, and they typically pay the government a fixed percentage of any

  fees they charge for services, regardless of profit or loss. Id. ¶¶ 6, 8.

  19.     CROA’s members typically pay their guides a flat fee on a per-trip basis. Id. ¶ 8. The work

  is seasonal, however, so many guides work as many hours as they can through the busy season—

  almost always working more than 40 hours in a week. Id. Increasing the wages for guides to $15/hr

  and paying overtime based on that wage would dramatically increase wage costs, and many of

  these outfitters would be forced to significantly raise the costs of their services to customers and

  eliminate many multi-day trips. Id. ¶¶ 10, 14. CROA members would also need to comply with

  the rule immediately should it go into effect and would need to pay new implementation and

  compliance costs to ensure they meet the new rule’s requirements. Id. ¶¶ 12, 13.

  IV. Procedural History

  20.     Plaintiffs filed a Complaint for declaratory relief on December 7, 2021, challenging the

  rule. ECF No. 1. They then moved for a preliminary injunction on December 9, 2021, and after an

  evidentiary hearing, this Court denied the injunction in a written opinion. ECF No. 31.

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  21.    Plaintiffs filed a notice of interlocutory appeal, and on February 17, 2022, Judges Phillips

  and Kelly granted an injunction pending appeal in an order. Ex. D, Order. Noting that the Court

  must evaluate a motion for injunction pending appeal “using the [four-factor] preliminary

  injunction standard,” and that “the right to relief must be clear and unequivocal,” the panel

  concluded that Appellants “have demonstrated an entitlement to relief from the Minimum Wage

  Order.” Id. at 1–2 (citations omitted). Accordingly, the Tenth Circuit enjoined enforcement of the

  rule as to “seasonal recreational services or seasonal recreational equipment rental for the general

  public on federal lands,” pending “further order of this court.” Id. at 2.
                                             ARGUMENT

         In a typical case, a court may grant summary judgment to a movant who “shows that there

  is no genuine dispute as to any material fact and the movant is entitled to judgment as a matter of

  law.” Fed. R. Civ. P. 56(a). But when assessing a motion for summary judgment in an APA case,

  “the district judge sits as an appellate tribunal,” Am. Bioscience, Inc. v. Thompson, 269 F.3d 1077,

  1083 (D.C. Cir. 2001), and “[t]he task of the reviewing court is to apply the appropriate APA

  standard of review, 5 U.S.C. § 706, to the agency decision based on the record the agency presents

  to the reviewing court.” Fla. Power & Light Co. v. Lorion, 470 U.S. 729, 743–44 (1985).

         The rule is unlawful for three independent reasons. First, it exceeds the Procurement Act’s

  reach because it attempts to regulate conduct that does not involve the procurement of supply of

  anything to or from the government. Second, the rule fails the statutory economy and efficiency

  requirement because it is not necessary for the reduction of government expenditures. Third, the

  rule is arbitrary and capricious because it was enacted at the President’s direction irrespective of

  economic benefits or policy alternatives. This Court should therefore follow the Tenth Circuit

  panel’s decision and hold the rule unlawful. 2




  2
   While decisions made in unpublished orders from a motions panel are not binding precedent, a
  subsequent court “does not lightly overturn” such a decision. Stifel, Nicolaus & Co. v. Woolsey &
  Co., 81 F.3d 1540, 1544 (10th Cir. 1996) (citation omitted).
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  I. THE PROCUREMENT ACT DOES NOT PROVIDE A BASIS FOR THE RULE
         A. The Rule Does Not Relate to the Procurement or Supply of Nonpersonal Services
            by the Government
         The executive branch’s authority “must stem either from an act of Congress or from the

  Constitution itself.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 585 (1952). A rule

  “in excess of statutory . . . authority” must be set aside. 5 U.S.C. § 706(2)(C).

         The Procurement Act authorizes the President to “prescribe policies and directives that the

  President considers necessary to carry out” an “economical and efficient system of” four limited

  categories of government activities, including “procuring and supplying property and nonpersonal

  services.” 40 U.S.C. §§ 101(1), 121(a). But the statute only empowers the President to control such

  activities by “the Federal Government.” See id. § 101(1) (emphasis added). 3

         The most natural reading of that statute suggests that the government is on one end of the

  transaction—either procuring or supplying nonpersonal services. “Contracting” must be “confined

  to its contextual meaning—the government’s making of the agreement, rather than all subsequent

  performance of it.” Kentucky v. Biden, 23 F.4th 585, 605 (6th Cir. 2022). It makes no sense

  therefore to adopt DOL’s view that the agency can regulate a company, like AVA, who neither

  procures nor supplies any nonpersonal services to the government, just because AVA later supplies

  nonpersonal services to its customers; the government is simply not party to those transactions.

         Certainly, the government’s provision of permits to Plaintiffs is not the “supply[ of]

  nonpersonal services,” defined to “mean[] contractual services . . . other than personal and

  professional services.” See 40 U.S.C. §§ 101(1), 102. Instead, the Act empowers the President to

  regulate the supply of services that it produces itself, see, e.g., 16 U.S.C. §§ 831c(d), 831h-1

  (authorizing Tennessee Valley Authority to enter contracts for the sale of electrical service); Matt

  v. Comm’r of Internal Revenue, 59 T.C.M. (CCH) 472 (T.C. 1990) (mem.) (discussing



  3
    DOL has not defended the rule based on the regulation of government “procurement.” This is
  sensible as Plaintiffs’ use of federal lands has nothing to do with procurement. Indeed, the final
  rule refers to Plaintiffs and other permittees as “non-procurement contractors.” 86 Fed. Reg. at
  67,512 (emphasis added).
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  “nonpersonal services” contracts that “USAID [] an agency of the United States Government,”

  “supplies” “to foreign countries”), or that are procured from elsewhere.

         Nor does the government’s limited interest in how Plaintiffs conduct their activities pull

  them into the statute’s reach. DOL’s concern with how activities under a permit are conducted—

  and almost by definition, permitted activities require permits because the government is concerned

  with how such activities are conducted—does not transform the government’s role into the entity

  conducting those activities. See Noel v. N.Y.C. Taxi & Limousine Comm’n, 687 F.3d 63, 70 (2d

  Cir. 2012) (“An activity does not become a program or activity of a public entity merely because
  it is licensed by the public entity.”) (cleaned up). And this Court previously recognized that

  Plaintiffs’ permits did “not subject [them] to the supervision and control of the government.” ECF

  No. 31 at 19. Nor do the permits require Plaintiffs to operate. Thus, it cannot be said that the

  government is supplying services through Plaintiffs.

         A contrary reading would construe the government to be supplying every service requiring

  a permit—trucking services, aviation services, financial services, broadcasting services, and

  more—simply because the government allows the actual provisioners of such services to operate

  pursuant to permits. Such a reading would then grant the President extraordinary unilateral power

  over these sectors under the provisions of the Act. That cannot be the case.

         B. The Rule Is Not Necessary for Economical and Efficient Procurement Policy

         Courts have also concluded that “some content must be injected into the general phrases

  ‘not inconsistent with’ the [Act] and ‘to effectuate the provisions’ of the Act,” to avoid a

  completely “open-ended” grant of authority. AFL-CIO v. Kahn, 618 F.2d 784, 788 (D.C. Cir. 1979)

  (en banc). “Any order” “must accord with the values of ‘economy’ and ‘efficiency,’” and have “a

  sufficiently close nexus between those criteria and the procurement [] program[.]” Id. at 792;

  accord Albuquerque v. U.S. Dep’t of Interior, 379 F.3d 901, 914 (10th Cir. 2004) (requiring that

  “the President’s exercise of authority establish an economical and efficient system for the

  procurement and supply of property”) (cleaned up). The “nexus” to cost savings must be “close,”

  and must relate to “procurement and supply,” not other benefits asserted “as a naked pretext.”

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  Kentucky, 23 F.4th at 607, 609. It is not enough for DOL to claim that a rule makes “contractor

  employees . . . more ‘economical and efficient’” through, for instance, reduced absenteeism. Id. at

  606. It is “importan[t],” therefore, for the President to show a “nexus between the wage and price

  standards and likely savings to the Government.” Kahn, 618 F.2d at 793.

          These limits derive from the ordinary meanings of the statutory terms. The Act limits the

  President to actions he “considers necessary” for “economical and efficient” “[p]rocuring and

  supplying property.” 40 U.S.C. §§ 101(1), 121(a). “What does it mean to be ‘necessary’? The word

  implies more than something merely helpful or conducive. It suggests instead something
  indispensable, essential, something that cannot be done without.” Cinnamon Hills Youth Crisis

  Ctr., Inc. v. Saint George, 685 F.3d 917, 923 (10th Cir. 2012) (citation omitted). If the action serves

  some other goal, but is not necessary to serve the statutory one, then it fails the test. Id. at 924.

          The terms “economical and efficient” also have an understood meaning. “Economical”

  implies the use of fewer resources—“marked by careful, efficient, and prudent use of resources.”

  “Economical.” Merriam-Webster.com Dictionary, Merriam-Webster, https://www.merriam-

  webster.com/dictionary/economical (last accessed June 13, 2021). “Efficient” likewise suggests

  less of something—“capable of producing desired results without wasting materials, time, or

  energy.” “Efficient.” Merriam-Webster.com Dictionary, Merriam-Webster, https://www.merriam-

  webster.com/dictionary/efficient (last accessed June 13, 2021).

          The President’s authority is therefore limited to actions that he considers “essential” to

  provide the “prudent use” of government resources “without wasting materials.” See 40 U.S.C. §§

  101(1), 121(a). Or, as the Court in Khan said, actions that “likely have the direct and immediate

  effect of holding down the Government’s procurement costs.” 618 F.2d at 792.

          DOL’s invocation of the Act cannot be justified. For actual procurement contractors, DOL

  expects increased wage costs to be passed on to the government, and thus “Government

  expenditures may rise.” 86 Fed. Reg. at 67,206. Non-procurement firms, like Plaintiffs, will have

  to make up their losses from “the public in the form of higher prices,” at least to the extent that the

  public is willing to bear them. Id. To the extent the public is unwilling to pay, Plaintiffs will be

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   less competitive, and their guides will face “disemployment” of up to 0.9%. Id. at 67,207, 67,211.

   The net result will be more costs to the public, to non-procurement firms, and to the government—

   the opposite of a permitted action under the Act. See Khan, 618 F.2d at 792.

          The Executive Branch itself previously arrived at the same conclusions. EO 13838

   concluded that applying the contractor minimum wage standards “to outfitters and guides

   operating on Federal lands,” “does not promote economy and efficiency in making these services

   available to those who seek to enjoy our Federal lands.” 83 Fed. Reg. 25,341. Instead, such a wage

   “threatens to raise significantly the cost of guided hikes and tours on Federal lands, preventing
   many visitors from enjoying the great beauty of America’s outdoors.” Id. Moreover, the wage

   would actually harm the affected workers because they “have irregular work schedules, a high

   incidence of overtime pay, and an unusually high turnover rate” such that “a minimum wage

   increase would generally entail large negative effects on hours worked by recreational service

   workers.” Id. In other words, to maintain financial viability, employers would have to cut hours to

   avoid overtime limits, which would reduce overall wages for guides. DOL previously emphasized

   that rescinding the prior wage rule for these businesses would “[l]ower[] the costs of business,”

   and “incentivize existing outfitters to hire more guides and to increase the hours of current

   employees.” 83 Fed. Reg. at 48,541. Significantly increasing the minimum wage would have the

   opposite effect—increasing costs, cutting hours for guides and limiting access to public lands.

          DOL’s defense of the rule relies on factors that will not apply to those with special use

   permits or that have nothing to do with efficiency or economy in government expenditures. The

   Department says the rule could: (1) improve government services; (2) increase morale and

   productivity; (3) reduce turnover; (4) reduce absenteeism; and (5) reduce poverty and income

   inequality. 86 Fed. Reg. at 67,195. Employers like Plaintiffs, who merely have special use permits,

   provide no “government services” though, so that benefit would “not apply to the outfitters and

   guides industry.” See id. at 67,212. The remaining purported benefits bear a striking resemblance

   to the benefits deemed too attenuated from procurement economy and efficiency to support the

   contractor vaccine mandate and are likewise inadequate to justify the rule here. See Kentucky, 23

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   F.4th at 606. And the language of Kahn is not ambiguous; the challenged rule was acceptable only

   because it “will likely have the direct and immediate effect of holding down the Government’s

   procurement costs.” 618 F.2d at 792 (emphasis added).

          These purported benefits are not the ones required by the Procurement Act—“economical

   and efficient” use of government resources. See 40 U.S.C. §§ 101(1); 120(a). DOL agrees that

   these “benefits are not monetized,” but that means that they cannot be shown to result in cost

   savings, much less cost savings to the government. To the extent the rule serves other policy goals,

   it cannot be said to be “necessary” for the statutory aims. See Cinnamon Hills, 685 F.3d at 924.
          This Court previously suggested that even though the rule might be inefficient and

   uneconomical for Plaintiffs the “relevant savings is not to individual contractors or contractors as

   a whole, but rather to the government.” ECF No. 31 at 27. But that conflicts with DOL’s own

   analysis that for typical procurement contractors “Government expenditures may rise.” 86 Fed.

   Reg. at 67,206. Moreover, even if the factual premise were correct, rules are reviewed in their

   entirety, not piecemeal. See 7 U.S.C. § 706(2)(A) (“reviewing court shall . . . hold unlawful and

   set aside agency action . . . found to be . . . not in accordance with law).
          C. This Court Must Read the Statute Narrowly To Harmonize Relevant Labor Laws
             and Avoid Major Policy and Difficult Constitutional Questions
          This Court can resolve this case by looking to the plain language of the statute and

   concluding that the rule exceeds the President’s authority. However, three related doctrines require

   this Court to construe any uncertainty in favor of the plaintiffs.

                  i. The Procurement Act Must Not Be Read To Displace Congressional Action
                     Concerning Federal Contractors
          “Agency authority may not be lightly presumed.” Michigan v. EPA, 268 F.3d 1075, 1082

   (D.C. Cir. 2001). An agency “may not construe the statute in a way that completely nullifies

   textually applicable provisions meant to limit its discretion.” Whitman v. Am. Trucking Ass’ns,

   Inc., 531 U.S. 457, 485 (2001).

          “In determining whether an agency’s regulations are valid under a particular statute . . . [a

   court] begin with the question of whether the statute unambiguously addresses the ‘precise

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   question at issue.’” New Mexico v. DOI, 854 F.3d 1207, 1221 (10th Cir. 2017) (quoting Chevron,

   U.S.A., Inc. v. N.R.D.C., 467 U.S. 837, 842 (1984)). “If Congress has spoken directly to the issue,

   that is the end of the matter; the court, as well as the agency, must give effect to Congress’s

   unambiguously expressed intent.” Id. (citation omitted). “When a statute limits a thing to be done

   in a particular mode, it includes the negative of any other mode.” Nat’l R.R. Pass. Corp. v. Nat’l

   Ass’n of R.R. Pass., 414 U.S. 453, 458 (1974).

          Congress has long since waded into the general issue of what constitutes the federal

   minimum wage, and even into the specific issue of how much federal contractors should be paid.
   The Fair Labor Standards Act (FLSA) set “standards of minimum wages and maximum hours” for

   most private employers. See Brooklyn Sav. Bank v. O’Neil, 324 U.S. 697, 707 (1945). Further, at

   least three statutes, the Davis-Bacon Act (DBA), the Walsh-Healey Public Contracts Act (PCA)

   and the Service Contract Act (SCA) set wage standards for federal contractors. See 40 U.S.C. §

   3142; 41 U.S.C. §§ 6502(1), 6702(a). Indeed, when Congress passed the SCA in 1965 it did so

   because “[t]he service contract is the only remaining category of Federal contracts to which no

   labor standards protection applies.” S. Rep. No. 798, 89th Cong., 1st Sess., 3 (Oct. 1, 1965).

   Congress therefore meant to extend specific coverage to certain federal contractors. See id.

          Congress has thus spoken to the issue of whether federal contractors should be required to

   pay a minimum wage—and it decided that only some contractors have legal obligations to do so.

   See 40 U.S.C. § 3142; 41 U.S.C. §§ 6502(1), 6702(a). But Congress also carefully limited those

   requirements. The DBA only applies to “mechanics or laborers” working on public buildings. 40

   U.S.C. § 3142(a). The PCA covers manufacturing “contract[s] made by an agency of the United

   States.” 41 U.S.C. § 6502. And the SCA excludes contracts that do not principally furnish

   “services” to federal agencies. See 40 U.S.C. § 3142. All three statutes require payment of a

   “prevailing wage,” not a fixed hourly rate. See 40 U.S.C. § 3142(b); 41 U.S.C. §§ 6502(1), 6703(1).

          It is “implausible” that Congress meant to grant the President the “implicit power to create

   an alternative to the explicit and detailed [] scheme” that Congress set out in these statutes. See

   New Mexico, 854 F.3d at 1226. This is particularly apt considering that the SCA, which comes the

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   closest to the rule’s reach, came after the Procurement Act of 1949, which has been invoked in

   support of the rule. See FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 143 (2000)

   (“The classic judicial task of reconciling many laws enacted over time, and getting them to make

   sense in combination, necessarily assumes that the implications of a statute may be altered by the

   implications of a later statute. This is particularly so where the scope of the earlier statute is broad

   but the subsequent statutes more specifically address the topic at hand.”) (citation omitted).

           Congress’s longstanding rules governing federal contractor wages cannot be read as a free

   pass for the agency to legislate wherever the statutes end. Indeed, the rule specifically applies only
   to employers who are already covered by the limited reach of the FLSA, the SCA or the DBA. See

   86 Fed. Reg. at 67,225. Plaintiffs, moreover, are required to pay prevailing wages under both the

   FLSA and SCA. See 86 Fed. Reg. 67,147-48 (special use permits “generally qualify as SCA-

   covered contracts”). The new rule exists simply to extend requirements to those already regulated

   by Congress, but in a manner separate and apart from the existing statutes.

           To be sure, these statutes do not directly conflict with the rule, but that implicates a different

   question. The issue is not whether any agency, or perhaps even DOL, may, in the abstract, wade

   into questions concerning federal wage laws. It instead is whether DOL may do so pursuant to the

   Procurement Act, and whether that Act’s generic grant of authority gave the President and the

   agency the “implicit power to create an alternative to the explicit and detailed [] scheme” that

   Congress set out in these statutes. See New Mexico, 854 F.3d at 1226. The Procurement Act, which

   never mentions wages, much less those affecting non-procurement permittees, cannot plausibly be

   read to have always been the source of such a vast authority over wages. See id. Instead, if DOL

   wants to wade in here, it should look to the statutes Congress passed concerning these matters.

                   ii. The Procurement Act Must Be Read To Avoid Major Questions
           Courts will not assume that Congress has assigned to the Executive Branch questions of

   “deep economic and political significance” unless Congress has done so “expressly.” King v.

   Burwell, 576 U.S. 473, 486 (2015). “When an agency claims to discover in a long-extant statute

   an unheralded power to regulate a significant portion of the American economy, [the Court]

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   typically greet[s] its announcement with a measure of skepticism.” Util. Air Regul. Grp. v. EPA,

   573 U.S. 302, 324 (2014) (citations omitted). A court should thus adopt a narrow reading of a

   statute when an agency tries “to exercise powers of vast economic and political significance.”

   Alabama Ass’n of Realtors v. HHS, 141 S. Ct. 2485, 2489 (2021) (citations omitted).

          DOL rightly acknowledges that the rule “is economically significant,” since it would result

   in direct costs to employers of “$1.7 billion per year over 10 years.” 86 Fed. Reg. at 67,194. This is
   in addition to “regulatory familiarization costs,” “implementation costs,” “compliance costs, increased

   consumer costs, and reduced profits,” “disemployment,” and even increased “Government

   expenditures.” Id. at 67,204, 67,206, 67,208, 67,211. This means this Court must meet DOL’s rule

   “with a measure of skepticism,” and look for a clear statement from Congress. Util. Air Regul. Grp.,

   573 U.S. at 304. As discussed above, the best DOL has is a reed-thin argument that this is all about

   “procurement,” despite applying the rule to “non-procurement” firms. This Court should therefore

   reject DOL’s recent discovery of its “unheralded power.” See id.

          Moreover, there is no requirement in this doctrine that a rule exceed these kinds of

   economic impacts. The Supreme Court has applied the doctrine based on its unqualified statement

   that it applies whenever an agency exercises “powers of vast economic and political significance.”

   NFIB v. OSHA, 142 S. Ct. 661, 665 (2022) (citation omitted). Indeed, in a concurring opinion

   Justice Gorsuch, joined by two others, noted that “[f]ar less consequential agency rules [than a

   vaccine mandate] have run afoul of the major questions doctrine,” such as rate regulation for

   telephone companies. Id. at 668 (citing MCI Telecomms. Corp. v. American Tele. & Telegraph

   Co., 512 U.S. 218, 231 (1994) (eliminating rate-filing requirement that might affect the prices of,

   at most, “40% of a major sector” of long-distance carriers)). There is simply no authority for the

   idea that the major questions doctrine empowers agency action until it reaches a certain value

   threshold. Instead, because the doctrine is about Congressional intent, it applies whenever a court

   cannot say with certainty that Congress meant for the outcome implicated by the rule. See NFIB,

   142 S. Ct. at 665 (Gorsuch, J., concurring). That is the case here.



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                  iii. The Procurement Act Must be Read To Avoid a Non-Delegation Problem
          The canon of constitutional avoidance instructs that a court must “construe [a] statute to

   avoid [serious constitutional] problems unless such construction is plainly contrary to the intent of

   Congress.” Edward J. DeBartolo Corp. v. Fla. Gulf Coast Bldg. & Constr., 485 U.S. 568, 575

   (1988). Thus, if an agency’s broad reading of a statute implicates “concerns over separation of

   powers principles” under the “nondelegation doctrine,” a court must read the statute narrowly. BST

   Holdings, LLC v. OSHA, 17 F.4th 604, 611, 617 (5th Cir. 2021) aff’d by NFIB, 142 S. Ct. at 664.

          If the President’s view of his own power is correct, then the Procurement Act would “raise

   a nondelegation problem.” See Tiger Lily, LLC v. HUD, 5 F.4th 666, 672 (6th Cir. 2021). “In
   applying the nondelegation doctrine, the ‘degree of agency discretion that is acceptable varies

   according to the scope of the power congressionally conferred.’” Id. (quoting Whitman, 531 U.S.

   at 475). But an interpretation of the Procurement Act that allowed the President to unilaterally

   sidestep existing minimum wage rules for employers who merely have a special use permit, based

   on the pretense of his “procurement” authority, would be akin to saying the President can control

   any private company that receives any federal benefit. “Such unfettered power would likely require

   greater guidance than” the provisions set out in the Procurement Act. See id. As the Sixth Circuit

   recently concluded in analyzing the Procurement Act, “[i]f the government’s interpretation were

   correct—that the President can do essentially whatever he wants so long as he determines it

   necessary to make federal contractors more ‘economical and efficient’—then that certainly would

   present non-delegation concerns.” Kentucky, 23 F.4th at 608 n.14. 4

          This is not a new concern. In Kahn, which ultimately upheld an order affecting bidding

   processes for procurement contracts, the court emphasized the need to enforce strict limits to avoid

   “the constitutional prohibition against excessive delegation of legislative power to the President,”




   4
    Importantly, the rule cannot be viewed as a mere housekeeping rule that is within the President’s
   primary area of discretionary authority. Minimum wage requirements for federal permittees are
   not merely directives of “internal operations,” because they “substantively affect the regulated
   public.” Mendoza v. Perez, 754 F.3d 1002, 1024 (D.C. Cir. 2014).
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   and make sure that its decision did “not write a blank check for the President to fill in at his will.”

   618 F.2d at 793 n. 51. Even those limits raised concerns from some members of the court, though.

   See id. at 797 (MacKinnon, J., dissenting) (“Moreover, I believe that were the majority’s

   construction of section 205(a) correct, then the 1949 Act would amount to an unconstitutional

   delegation of legislative authority to the executive branch.”). Judge MacKinnon also noted that the

   nondelegation problem seemed to animate much of the majority’s reasoning, saying, “Apparently

   concerned about the limitless nature of the power the majority describes, two judges within the

   majority restrict their support by attaching separate concurrences stressing the narrowness of the
   majority’s holding. The majority itself strains to emphasize the proximity of the nexus it

   approves.” Id. Furthermore, the Tenth Circuit likewise found the Procurement Act constitutional

   but only because of the statutory limits on the President’s authority. See City of Albuquerque, 379

   F.3d at 914. This Court must therefore not construe the Procurement Act to allow DOL’s intrusion

   into what it agrees are non-procurement contracts.

   II. THE FINAL RULE IS ARBITRARY AND CAPRICIOUS

          A court must set aside agency action that is “arbitrary [or] capricious.” 5 U.S.C. §

   706(2)(A). While this review is “necessarily narrow, it is not insubstantial”—it requires “probing,

   in-depth review.” Qwest Commc’ns. Int’l, Inc. v. FCC, 398 F.3d 1222, 1229 (10th Cir. 2005).

   Agency action is arbitrary and capricious “if the agency has relied on factors which Congress had

   not intended it to consider, entirely failed to consider an important aspect of the problem, offered

   an explanation for its decision that runs counter to the evidence before the agency, or is so

   implausible that it could not be ascribed to a difference in view or the product of agency expertise.”

   Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). A court may

   only consider the reasoning “articulated by the agency itself.” Id. at 50.

          When an agency changes course “a reasoned explanation is needed for disregarding facts

   and circumstances that underlay or were engendered by the prior policy.” FCC v. Fox Television,

   Inc., 556 U.S. 502, 515–16 (2009). An agency must provide “a more detailed justification” when



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   a “new policy rests upon factual findings that contradict those which underlay its prior policy.” Id.

   at 515; accord DHS v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1913 (2020).

          “[W]hen an agency rescinds a prior policy[,] its reasoned analysis must consider the

   alternatives that are within the ambit of the existing policy.” Regents, 140 S. Ct. at 1913 (quotation

   omitted). But “merely stating that an alternative was considered is not enough to show reasoned

   analysis.” Texas v. Biden, 10 F.4th 538, 555 (5th Cir. 2021).

          DOL’s rule is arbitrary and capricious because the rule rescinded DOL’s prior exception

   for non-procurement firms like Plaintiffs without explaining why it disregarded its own prior
   conclusions, considering alternatives, or supporting the rule with meaningful evidence. First, DOL

   blows past its prior rulemaking that had exempted Plaintiffs from a minimum wage, simply noting

   that it was rescinding the rule without explaining why. DOL also doesn’t engage with President

   Trump’s findings that applying a minimum wage rule to outfitters and guides “does not promote

   economy and efficiency in making these services available to those who seek to enjoy our Federal

   lands” because it would threaten “to raise significantly the cost of guided hikes and tours on

   Federal lands, preventing many visitors from enjoying the great beauty of America’s outdoors”

   and “would generally entail large negative effects on hours worked by recreational service

   workers.” 83 Fed. Reg. at 25,341. Nor did DOL acknowledge its own findings that exempting

   permittees like Plaintiffs would “lower[] the cost of business for outfitter providers,” which “could

   incentivize small outfitters to enter the market,” “incentivize existing outfitters to hire more guides

   and to increase the hours of current employees” and provide “more affordable guided tours and

   recreational services for visitors to Federal lands.” 83 Fed. Reg. at 48,540. True, in response to

   comments DOL agreed it was rescinding the exception, but it insisted it “does not have the

   discretion to implement alternatives that would violate the text of the EO, such as the adoption of

   a higher or lower minimum wage rate, or continued exemption of recreational businesses.” 86 Fed.

   Reg. at 67,216. That’s hardly a meaningful explanation. See Fox, 556 U.S. at 515–16.

          Any explanation hardly could justify the change though, because DOL’s own findings

   show exactly why the rule harms Plaintiffs. It admits that outfitters and guides will suffer

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   “increased costs” that they will not be able to recoup from the government, and that will then be

   passed on to the public, will reduce profits, make these businesses less competitive, and will result

   in disemployment, all of which they will suffer to a much greater extent than for procurement

   contractors. 86 Fed. Reg. at 67,206–08, 67,211. It also admits that some of the purported benefits

   of the rule will not actually apply to the industry, and any benefit will only apply to the existing

   workforce, which will obviously be lessened by layoffs. See id. at 67,211–12. But DOL never

   explains why these harms should be cast aside, why it should rescind the old exception, and why

   it should lump in Plaintiffs with procurement contractors.
          The Record is also filled with the research that DOL claimed supported its rule, but, in

   reality, undermines the President’s directive. For instance, DOL insisted that it “believes this final

   rule would result in negligible or no disemployment effects.” 86 Fed. Reg. at 67,211. But that’s

   not what its own sources suggest. As an example, DOL cited to a study it says shows that “[s]ome

   authors even found positive effects on employment as a result of minimum wage increases.” Id.

   The study, however, concluded that a minimum wage can result in slight increase in overall

   employment, but only “if employment [measurement] depends upon both the number of searching

   workers and the number of searching firms,” because “increase in the number of searching workers

   may more than offset the decrease in the number of searching firms.” AR Vol. I, 136. In other

   words, many firms will reduce their need for employees but they may see increased interest from

   higher-qualified candidates. See id. On balance though, the researchers concluded that “there are

   possibly large negative welfare effects from a minimum wage increase, even if the employment

   level stays constant or increases,” because “a minimum wage hike is then not a transfer from rich

   firms to poor workers, but from poor workers to rich workers.” Id. at 126–27. This is a point

   reinforced in other studies DOL cited. See, e.g., AR Vol. II, 172 (“There is a clear drop in

   employment at the bottom of the wage distribution . . . in cities with minimum wage[.]”).

          Otherwise, the literature suggests significant negative effects. In one study concerning Los

   Angeles’ living wage ordinance, the authors concluded that “[e]mployers have cut costs by making

   small reductions in employment and fringe benefits.” AR Vol. II, 364. Indeed, in a metanalysis of

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   15 years of research, which DOL itself cited to, the authors concluded that the minimum wage []

   has negative employment effects,” which are “statistically significant.” AR Vol. V, 221.

          And even if the net loss in jobs might be small, DOL’s research explains how the job losses

   hurt the poorest workers. As discussed, minimum wage rules simply shift opportunities away from

   less-qualified workers. AR Vol. I, 127. As other studies confirm, “The entirety of these [wage]

   gains accrued to workers with above-median experience at baseline; less-experienced workers saw

   no significant change to weekly pay,” and, in fact, minimum wage rules resulted in “a significant

   reduction in the rate of new entries into the workforce.” AR Vol. III, 134. Jobs that can be
   accomplished by automation are also simply eliminated. A “significant number of individuals who

   were previously in automatable employment are nonemployed in the period following a minimum

   wage increase.” AR, Vol. III, 241. Such workers are “quite vulnerable to employment changes and

   job loss because of automation following a minimum wage increase.” Id.

          DOL also dismissed concerns about price increases, which “would impact [companies’]

   profits, competitiveness, and viability,” saying that there was no “data or substantive information”

   submitted by commentators and asserting that there was “little literature showing a link between

   minimum wages and profits.” 86 Fed. Reg. at 67,207. The one study cited by DOL, however,

   concluded that there is “a significant negative association between the [minimum wage]

   introduction and firm profitability. We report evidence showing wages were significantly raised,

   and firm profitability was significantly reduced by the minimum wage.” AR, Vol. II, 130.

          Yet again, DOL’s “supporting” evidence proves its error. According to one study cited by

   DOL, “It is well established in the literature that minimum wage increases compress the wage

   distribution. Firms respond to these higher labour costs by reducing employment, reducing profits,

   or raising prices.” AR Vol. III, 192. Indeed, the one study DOL cited concerning losses to

   automation found “full or near-full price pass-through of minimum-wage-induced higher costs of

   labor.” AR Vol. II, 4. Other researchers concluded that “firms respond to minimum wage increases

   not by reducing production and employment, but by raising prices.” AR Vol. III, 213. In other

   instances, “Firms have adapted to the remaining costs in a variety of ways, including cutting fringe

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   benefits and overtime, hiring more highly trained workers, cutting profits and passing on costs to

   the city or to the public.” AR Vol. II, 362. In yet others, “Cost increases were instead absorbed

   through other channels of adjustment, including higher prices, lower profit margins, wage

   compression, reduced turnover, and higher performance standards.” AR Vol. III, 61.

           The research, of course, was never meant to point the Department in one direction or

   another. It was provided just to give cover to whatever the Department was already doing, but it

   did so poorly. After all, by its own admission, DOL did not “consider the alternatives that are

   within the ambit of the existing policy” when it rescinded its prior policy for outfitters. See Regents,
   140 S. Ct. at 1913. EO 14026 rescinded the prior rule without a word of explanation. 86 Fed. Reg.

   at 22,836–37. But DOL shook off criticisms of applying the rule to outfitters by blaming the

   President, saying “that due to the prescriptive nature of Executive Order 14026, the Department

   does not have the discretion to implement alternatives that would violate the text of the EO, such

   as the adoption of a higher or lower minimum wage rate, or continued exemption of recreational

   businesses.” Id. at 67,216. It agrees it did not “consider the alternatives,” because it claimed it

   couldn’t. But the APA’s arbitrary and capriciousness standard still applies in such contexts.

   Consider Regents—there the Attorney General had ordered the Acting Secretary of Homeland

   Security to rescind an executive policy. 140 S. Ct. at 1903. Regardless of whether the Secretary

   had any choice to depart from the Executive’s directives, her action was still reviewed under the

   APA’s arbitrary and capriciousness standard. See id. at 1911–12. And the agency action was

   invalid because the Secretary rescinded the prior policy without providing an explanation beyond

   the Attorney General’s order. See id. at 1913. The rule here must also be vacated on this basis.
                                             CONCLUSION
           The final rule exceeds Defendants’ regulatory authority, and must be set aside.
   DATED: June 15, 2022.
                                                                   Respectfully,
                                                                   /s/ Caleb Kruckenberg
                                                                   CALEB KRUCKENBERG
                                                                   MICHAEL A. POON
                                                                   STEVEN M. SIMPSON
                                                                   Counsel for Plaintiffs
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                                   CERTIFICATE OF SERVICE
          I hereby certify that on June 15, 2022, I electronically filed the foregoing with the Clerk of

   Court using the CM/ECF system which sent notification of such filing to all counsel of record.

                                                                Respectfully,

                                                                /s/ Caleb Kruckenberg
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